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DECLARATION CERTIFYING RECORDS OF
REGULARLY CONDUCTED ACTIVITY

I, Wi Lb Ikan YD leETHCH , am employed by

(name)

S. P. Howe *T ecsbepe- (rc 7

(name of entity) yy aro? s vv)
My official title is Se. Viee Pence one, As part of my duties as a
(title)

ae
S V P , lam familiar with the records that J.B. He ae Urnsperr, an

(title) (name of entity)

keeps in the ordinary course of business. I am familiar with the types of documents received,
created and relied upon by oO. B. tu it in the ordinary course of its

(name of entity)

business.

I certify that I have reviewed the records attached hereto and that these records are the

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original or duplicates of the original records kept in the custody of SB.

(name of entity)

List documents
I further certify that:

A) such records were made, at or near the time of the occurrence of the matters set forth,
by (or from information transmitted by) a person with knowledge of those matters;

B) such records were kept in the course of a regularly conducted business activity;
C) the business activity made such records as a regular practice;
D) _ifsuch record is not the original, such record is a duplicate of the original.

I certify under penalty of perjury that the foregoing is true and correct.

WJ 0 XK
O

Signature

te

Executed on this? day of MAY , 2 ¥¢ :
(day) ‘ (month) (year)

a bowetr At

(city) (state)

